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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

ASHLEY BRODUER,                                 )
                                                )
       Plaintiff,                               )
                                                )
       v.                                       )       Case No. 1:14-cv-00398
                                                )
PORTFOLIO RECOVERY                              )
ASSOCIATES, LLC,                                )
                                                )
       Defendant.                               )

                                 NOTICE OF SETTLEMENT

       Plaintiff, ASHLEY BRODUER (“Plaintiff”), informs this Honorable Court that the Parties

have reached a settlement in this case. Plaintiff anticipates dismissing this case, with prejudice,

within 30 days.


DATED: June 25, 2014                         RESPECTFULLY SUBMITTED,



                                             By:__/s/ Mark D. Trujillo___________
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                                                    Albuquerque, NM 87111
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                                CERTIFICATE OF SERVICE
        On June 25, 2014, I electronically filed the Voluntary Dismissal with the Clerk of the U.S.
District Court, using the CM/ECF system. I e-mailed a copy of this filed document to in-house
counsel, Steve Zahn, at szahn@portfoliorecovery.com.


                                             By:__/s/ Mark D. Trujillo___________
                                                      Mark D. Trujillo
